Case 1:23-cv-03721-SCJ Document 3 Filed 08/22/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION

THE STATE OF GEORGIA,

CIVIL ACTION FILE
V.

No. 1:23-CV-03721-SCJ
JEHEREY BOSSERT CLARK, RE: NOTICE OF REMOVAL OF

FULTON COUNTY SUPERIOR
Defendant. COURT INDICTMENT NO.
23SC188947
ORDER

This matter appears before the Court on Defendant Jeffery Clark’s
Emergency Motion to Stay the State criminal proceeding at issue in his removal
action. Doc. No. [2]. In order for the Court to promptly address this Motion, the
Court ORDERS the Fulton County District Attorneys’ Office, who is prosecuting
the underlying State criminal case, to respond to Clark’s Motion to Stay by 3p.m.

tomorrow, Wednesday August 23, 2023. This response may not exceed 25 pages.

No reply will be permitted.

1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court's docketing software.

Case 1:23-cv-03721-SCJ Document 3 Filed 08/22/23 Page 2 of 2

IT IS SO ORDERED this 44 »¢{_day of August, 2023.

Mibe fs f..,.

ONORABLE STEVE CJ C/JONES
oNERED STATES DISTRICT JUDGE

